     Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 1 of 21



              IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF NEW YORK

                                     )
NATURAL RESOURCES DEFENSE            )
COUNCIL, INC., et al.,               )
                                     )
                      Plaintiffs,    )
     v.                              )   18-CV-4596 (VEC)
                                     )
U.S. DEPARTMENT OF THE               )
INTERIOR, et al.,                    )
                                     )
                      Defendants.    )
                                     )
                                     )
NATIONAL AUDUBON SOCIETY., et        )
al.,                                 )
                                     )
                      Plaintiffs,    )
     v.                              )   18-CV-4601 (VEC)
                                     )
U.S. DEPARTMENT OF THE               )
INTERIOR, et al.,                    )
                                     )
                      Defendants.    )
                                     )
                                     )
STATE OF NEW YORK, et al.,           )
                                     )
                      Plaintiffs,    )
     v.                              )   18-CV-8084 (VEC)
                                     )
U.S. DEPARTMENT OF THE               )
INTERIOR, et al.,                    )
                                     )
                      Defendants.    )
                                     )


                 DECLARATION OF GARY G. MOWAD




     
       Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 2 of 21



      I, Gary G. Mowad, declare as follows:

      1.    I am a resident of Scottsdale, Arizona. I have a bachelor’s degree in

Wildlife Biology from Stephen F. Austin State University and a master’s degree in

Biology from the University of Texas at El Paso. I completed a Senior Executive

Fellow program at the Kennedy School of Government, Harvard University in 2009.

A copy of my curriculum vitae is attached as Exhibit A.

              Work Experience at U.S. Fish and Wildlife Service

      2.    I started working for the U.S. Fish and Wildlife Service (USFWS) in

1988 and worked continuously for the agency until my retirement in February 2013.

During my 25-year tenure with USFWS I served as a special agent, biologist, and

natural resource pilot. I spent 22 years with USFWS’s Office of Law Enforcement,

where I served as a special agent in Alaska, Colorado, Illinois, New Mexico, and

Washington DC.

      3.    I spent much of my time at USFWS enforcing the Migratory Bird

Treaty Act (MBTA). Early in my career, when I was a special agent in Colorado in

the 1990s, I became the Regional Environmental Contaminants Coordinator and

specialized in migratory bird mortalities linked to things like pesticide use, mining,

and oil production waste ponds and spills.

      4.    I also worked in several leadership and management positions in

USFWS’s Office of Law Enforcement. For example, I served as USFWS Assistant

Special Agent in Charge of the USFWS Southwest Region in Albuquerque, NM and

the Special Agent in Charge of the Mountain-Prairie Region in Denver, CO. In these

                                          1

       Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 3 of 21



roles, I oversaw USFWS’s enforcement of the MBTA and other statutes throughout

several states.

      5.     In 2008 I became the Deputy Chief for the USFWS’s Office of Law

Enforcement in the USFWS Headquarters Office in Washington DC. As Deputy

Chief I oversaw the entire USFWS law enforcement program in all 50 states and

U.S. territories. I developed national enforcement polices, worked on regulations,

set enforcement priorities, coordinated with the leaders of state and tribal wildlife

programs, and gave testimony before Congress. It was my responsibility to

supervise the implementation of policy and enforcement priorities for the MBTA

and other statutes at both the national and regional level.

      6.     Following my retirement from USFWS in February of 2013, I formed

an environmental consulting company specializing in compliance issues involving

the MBTA and other wildlife statutes.

      7.     Based on my extensive background and experience, I am a national

expert on the MBTA, certainly as it relates to non-hunting-related mortality. In

addition to my many years of hands-on experience implementing and enforcing the

MBTA, I have taught the statute and its implementing regulations to many groups

throughout the country.

            Incidental Take Kills Large Numbers of Migratory Birds

      8.     My lengthy history in MBTA enforcement and specialization in

migratory bird impacts resulting from environmental contaminants—such as




                                           2

       Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 4 of 21



pesticide use, mining, and oil and gas production—puts me in a unique position to

explain the important role the MBTA has played in reducing these kinds of impacts.

      9.    Without question, the significant mortality caused by these industrial

activities dwarfs the impacts to migratory birds from hunting or poaching. In one

single environmental contaminant case I would often find more unlawfully taken

birds than all that I’d seen unlawfully poached in my entire 25-year career at

USFWS.

      10.   For example, I was a special agent in Alaska 30 years ago when the

Exxon Valdez tanker went aground. I spent weeks pulling dead birds from oil

spilled in Prince William Sound. Based in part on evidence I collected, USFWS

estimated that Exxon was responsible for killing 300,000 birds in the spill.

      11.   Pesticides can also be responsible for significant bird mortality. I have

witnessed instances where agricultural producers spread granular carbofuran

pesticide on their fields that looked like seeds, and which killed thousands of

songbirds that thought they were eating seeds but were actually ingesting a lethal

pesticide. This also resulted in significant secondary take when raptors came and

fed on the poisoned songbird carcasses.

      12.   Some of the worst agricultural incidents of bird mortality I witnessed

were from the use of the pesticide furadan, which poisoned hundreds of snow geese

in New Mexico and over two thousand blackbirds in Illinois. These photographs,

taken by my fellow special agents, fairly and accurately show some of the birds

killed in those incidents:



                                          3

    Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 5 of 21




                                   4

       Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 6 of 21



      13.   Mining activities have similarly resulted in many poisoned birds. Heap

leach gold mines throughout the United States use cyanide to leach gold from ore,

but the cyanide-laced water that pools on the surface of the ore piles poisons

thousands of migratory birds each year.

      14.   Produced water impoundments associated with oil and gas production

killed a particularly large number of birds. In addition to spills, like Exxon Valdez

mentioned above, oil and gas production activities also often resulted in significant

take of migratory birds in these produced water impoundment ponds. During

extraction, producers try to separate the water and oil or gas that they pump out of

the ground, and send the water out to a pond to evaporate. But the separation

process is often incomplete, so the ponds end up with oil sludge on the surface.

      15.   This is a photograph of a produced waste water impoundments that I

took in the 1990s that was entirely covered with oil sludge:




                                           5

          Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 7 of 21



          16.   Oil from production fields also sometimes makes its way into nearby

wetlands. This is a photograph that I took of an oil impacted wetland:




          17.   Avian species have trouble differentiating between oil and water. So

during their migration, birds often mistake a waste pond or wetland covered with

oil for a safe place to land and feed and rest. They then get coated with oil and can’t

fly again. They typically die either from hypothermia (by losing the insulation from

their oiled feathers), or poisoning (by preening their oiled feathers and ingesting the

toxin).

          18.   Sometimes we would find birds that had been stuck in a waste pond

and covered in oil, and were in really bad shape, but were still alive. In those

situations, we would frequently have to euthanize them, often by breaking their

necks to end their suffering. It was gut wrenching.

                                             6

      Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 8 of 21



      19.   These are photographs that fairly and accurately depict birds that I

pulled from oil waste ponds:




      20.   These oil and gas waste ponds are estimated to kill hundreds of

thousands, if not millions, of migratory birds per year. They kill large numbers of

passerine songbirds, waterfowl, and, to a lesser degree, raptors that would fly down

to scavenge but ended up getting stuck or poisoned themselves. The songbird

mortality is particularly troubling, as many of those species are in substantial

decline and are designated as birds of conservation concern by USFWS.

      21.   It is relatively easy and inexpensive for oil and gas producers to

mitigate or even eliminate these risks to migratory birds by, for example, skimming

the oil off their ponds or covering their waste ponds with nets that keep birds out.


                                          7

       Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 9 of 21



      22.   This is a photograph I took in eastern Colorado in approximately 1995

that fairly and accurately shows a properly covered waste pond:




              MBTA Liability Prompted Industry to Protect Birds

      23.   During my 25 years at USFWS, we used the MBTA to reduce these

major industrial threats to migratory birds. For the most part, the MBTA was our

only regulatory tool to prevent the rampant and avoidable mortality described

above. Applying the MBTA fairly and effectively, we were successful in significantly

reducing migratory bird mortality from environmental contaminants. The MBTA

was crucial to our ability to do so.

      24.   We applied the MBTA carefully and in a reasonable and targeted

manner. When we found that certain industrial activities were killing birds


                                         8

      Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 10 of 21



predictably but unnecessarily, our standard practice was to warn the actors and

give them an opportunity to change their practice before ever bringing an

enforcement action. In almost every case, the actors were given a chance to change

their behavior or install avian exclusionary measures without punitive

repercussions. We only prosecuted in the rare cases where a bad actor refused to

comply in response to our multiple requests to eliminate their bird hazards.

       25.   I developed an enforcement protocol in my region that embodies this

approach, which was then implemented nationwide. The protocol called for working

with industry to generate compliance voluntarily, and bringing enforcement actions

only as a last resort.

       26.   Under the protocol we would, first, give industry notice that we were

coming to the area. We would let industry groups know though their associations

(e.g., the Wyoming or New Mexico Oil and Gas Associations) that USFWS would be

coming to look for practices we knew killed migratory birds in large numbers—e.g.,

open oil waste ponds with visible surface sludge. Second, we would come to the area

and document any such instances—e.g., by conducting flyovers of oil production

fields and identifying uncovered oil waste ponds by their latitude and longitude.

Third, we would then inform industry what we saw and say that we were coming

back in 30 days and would then enforce the MBTA against any actors that had not

cleaned up their operations. Only after we returned in 30 days and found that the

threat to birds remained would we enforce the MBTA against the responsible

actors.



                                          9

      Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 11 of 21



      27.   The protocol was very effective. In our initial flyovers, we would often

see many operations (as much as 80 percent) with active threats to migratory birds.

But when we came back 30 days later, in the vast majority of cases we found that

operators had skimmed the oil off their ponds or covered the ponds with nets. Based

on my years of observations of bird mortality events caused by uncovered waste

ponds, I conservatively estimate that these reasonable measures by industry

prevented hundreds of bird deaths at each operation. Under our protocol, we only

initiated enforcement proceedings against the remaining small number of

recalcitrant actors (usually no more than 15 percent of operators) who refused to

comply by taking the same basic measures implemented by other operators.

      28.   We followed the same cooperative approach with other industries

whose activities incidentally but foreseeably killed large numbers of migratory

birds. In the agricultural sector, for example, our practice was to first try to work

with companies to implement timing restrictions that would abate the impacts to

migratory birds—e.g., by changing the timing of their pesticide use to before

migration season. Similarly, for the utility sector, our practice was to try to convince

the owners of power lines responsible for raptor electrocution mortalities to upgrade

their lines by installing avian exclusionary devices to avoid electrocuting raptors. As

with other industries, the possibility of MBTA liability was critical in convincing

power companies to make these upgrades. Likewise, the heap leach gold mining

industry was given time to install exclusionary netting over toxic wastewater ponds.




                                          10

      Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 12 of 21



       29.   I know from firsthand experience that unless USFWS has the MBTA

as a regulatory tool to address take resulting from major industrial activities, these

companies would lack the necessary incentive to take measures to reduce their non-

purposeful killing of migratory birds. It costs money and time to implement

protections, and profit-making companies are generally not going to do it if they are

not legally required to do so. In my experience, only once industrial actors were

informed of their potential MBTA liability did they spend resources to reduce their

impacts on migratory birds.

    The Jorjani Opinion Eliminates Critically Important Bird Protections

       30.   In December 2017, the Principal Deputy Solicitor of the Interior Daniel

Jorjani issued an M-Opinion that eliminated the MBTA as a regulatory and

enforcement tool to address incidental take. The Jorjani Opinion reversed the

federal government’s longstanding understanding of the MBTA and concluded,

instead, that the Act applies only to activities that “have as their purpose” the

killing of migratory birds, such as hunting or poaching.

       31.   I was very disappointed and deeply concerned when I learned of the

Jorjani Opinion, which essentially gives industry carte blanche to kill migratory

birds with impunity in the ordinary course of their operations. It means that the

federal government has lost its most valuable tool to protect migratory birds—at

least unless or until the Jorjani Opinion is vacated or withdrawn.

       32.   I know from my many years at USFWS that an M-Opinion is binding

on all agencies within the Department of the Interior. So, as a direct result of the


                                          11

      Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 13 of 21



Jorjani Opinion (and so long as it remains in effect), USFWS’s Office of Law

Enforcement is prevented from doing anything to reduce migratory bird deaths from

industry-related incidental take.

      33.   In particular, USFWS will no longer conduct any flyovers of oil and gas

production areas to identify potential threats to migratory birds, such as uncovered

oil and waste ponds. Based on my experience as the Deputy Chief for the USFWS

law enforcement program, the Jorjani Opinion also precludes USFWS agents from

even going out to discuss voluntary bird protection measures with industrial actors,

like oil and gas producers, because it would use agency resources and limited

congressional appropriations on something that the agency purportedly lacks

authority to regulate or enforce.

      34.   Based on my many years of experience at USFWS enforcing the

MBTA, as well as my more recent work as an MBTA consultant, I am confident

that—so long as the Jorjani Opinion remains in force—industry actors will lack the

incentive they previously had to implement measures to reduce their incidental

take of migratory birds. Consequently, the Jorjani Opinion will be devastating to

efforts to protect migratory bird populations from incidental deaths and injuries

that foreseeably result from major industrial activities.

      35.   As explained above, the MBTA’s application to incidental take that

was foreseeable and preventable was crucial to convincing industrial actors to

eliminate bird hazards caused by their operations. In my extensive experience in

enforcing the MBTA, industry actors typically only spent resources to reduce their



                                          12

       Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 14 of 21



incidental take of migratory birds after they were informed of their potential MBTA

liability.

       36.      Based on my many years of experience, I am confident that industrial

actors will not take such steps unless they are subject to MBTA liability for

incidental take. Without a deterrent, oil and gas companies are not going to clean

up or cover their waste ponds. It costs money and takes effort, which explains why,

in my experience, such companies often left their waste ponds uncovered, with weak

peripheral controls, until we confronted them with potential MBTA liability.

Eliminating that liability means that these companies will no longer take measures

to clean up or cover their ponds. The same goes for smaller power utilities: if they

face no liability, they will not have sufficient incentive to pay to raptor-proof their

utility lines.

       37.      In my current position as a consultant to private industry, I have seen

firsthand how the Jorjani Opinion has changed industrial actors’ willingness to

implement bird protection measures.

       38.      For example, before the Jorjani Opinion, it was the typical practice of

developers of projects that required clearing migratory bird habitat to create

migratory bird conservation plans that would restrict or prohibit tree clearing

during the migratory bird nesting season. But after the Jorjani Opinion, USFWS

lost its ability to require that clearing take place outside of the nesting season.

Because there is no longer any deterrent to stop them, many project developers are

now moving forward without migratory bird conservation plans or time restrictions



                                             13

      Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 15 of 21



in their schedule. These developers are clearing migratory bird habitat during

nesting season, which will result in the destruction of active nests and

unnecessarily kill young birds.

      39.   Based on my own observations as well as recent conversations with

special agents still working for USFWS, it has become clear to me that this state of

affairs under the Jorjani Opinion is terrible for bird conservation. USFWS agents

typically get into this line of work to protect wildlife, and yet—because of the

Jorjani Opinion—they can no longer protect most species of migratory birds. These

agents know how detrimental oil waste ponds, pesticides, and other industrial

threats are to migratory birds. So it has been incredibly frustrating to those whose

mission is to protect migratory birds that—because of the Jorjani Opinion—they

can no longer do anything to reduce these threats.

     The Jorjani Opinion Will Result in Many Unnecessary Bird Deaths

      40.   The Jorjani Opinion is causing and will continue to result in the deaths

of large numbers of migratory birds that could have easily been avoided. Based on

my many years of experience enforcing the MBTA, I can conservatively estimate

that, as a result of the Jorjani Opinion, tens of thousands of birds will be killed

annually, although my reasonable opinion is that the number will exceed one

million.

      41.   Based on my experience, the largest number of bird deaths caused by

the M-Opinion will occur in oil producing states and agricultural areas that use

pesticides which result in extensive mortality—for example, parts of Wyoming, New


                                           14

      Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 16 of 21



Mexico, and California’s Central Valley (which has extensive agriculture and over

700 active oil waste ponds). I anticipate that passerine songbirds will likely take the

biggest hit, followed by waterfowl.

      42.   In May 2018, together with a fellow former USFWS special agent, I

conducted a flyover in northern Wyoming to document current threats to migratory

birds that would likely be avoided if the Jorjani Opinion was vacated or withdrawn,

and USFWS once again had the ability to regulate or enforce incidental take. We

flew out of Billings, Montana, south to the Bighorn Basin in and around Powell,

Wyoming, where there are a number of oil production fields. We saw dozens of open,

uncovered waste ponds with surface oil on them. At some fields, the surrounding

wetlands and streams also clearly had oil in them. We also saw some waste ponds

that had avian exclusionary netting which had not been maintained, so it had been

ripped from its frame (perhaps during harsh winter conditions) and not been

properly reinstalled. These are exactly the kinds of conditions that would have been

remedied prior to the Jorjani Opinion.

      43.   In August 2019, the other former agent and I conducted another

flyover of the same area. Once again, we saw a large number of uncovered oil waste

ponds, oil spills, and open tanks that represent an active threat to migratory birds.

This time we also saw a broken flow line (which is supposed to take the oil and

water mixture from the well head to tanks where it is separated out). When you

have a broken flow line like that, it can spill oil into the local wetlands for quite a

long time.



                                           15

      Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 17 of 21



      44.   Based on my experience, the conditions I saw during my 2018 and

2019 flyovers have caused or will cause many migratory bird deaths that could

easily be avoided and would have been had the Jorjani Opinion not been issued. If

USFWS again had authority under the MBTA to regulate or enforce against

incidental take, oil and gas producers in this area could be compelled to, or would

voluntarily, take steps to clean up their operations and reduce the threats to

migratory birds.

      45.   Similar conditions exist in southeast New Mexico, where significant oil

and gas production occurs in the Permian Basin in and around the Carlsbad area. I

am intimately familiar with the threats to migratory birds in New Mexico, and this

part of the state in particular, because of my prior work there as a USFWS special

agent. The work of USFWS in this area documented extensive migratory bird

mortalities linked to contact with surface oil on production pits or waste ponds. As a

result of enforcement action taken by the agency, the number of bird mortalities

were reduced significantly.

      46.   Oil and gas production in the area has increased significantly in recent

years, increasing the threats to migratory birds from uncovered oil waste ponds.

Because I live in the southwest and continue to do work there, I often fly over the

Carlsbad area on commercial flights. Even from 30,000 feet I can see increased oil

production and open waste ponds. Based on my extensive experience enforcing the

MBTA, including in this particular region, I am confident that the lack of a




                                         16

Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 18 of 21
          Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 19 of 21

                                                     EXHBIT A


                                                  Curriculum Vitae
                                                  Gary G. Mowad

EXPERTISE:
x Retired Deputy Chief from the United States Fish and Wildlife Service (USFWS) (Retired from USFWS 2/2013)
x National USFWS expert on the Migratory Bird treaty Act, Endangered Species Act, and Eagle Protection Act
x Developed USFWS national enforcement policy on ESA Section 9 “take” cases resulting from habitat modification
   and/or degradation resulting in take through “harm” to the species
x Taught the Endangered Species Act to every USFWS Special Agent recruit class from 1998 to 2010
x Developed law enforcement protocols and policy regarding MBTA violations caused by pesticides and oil pits
x National USFWS expert on wildlife mortality caused by oil spills and raptor mortality caused by power line
   electrocution
x Criminal and civil Lacey Act cases
x Marine Mammal Protection Act
x Civil Asset Forfeiture Reform Act (CAFRA)
x Federal grand jury and federal court experience
x Federal Court Witness/Depositions

EDUCATION:
Senior Executive Fellow, Kennedy School of Government, Harvard University
Masters of Science Degree, University of Texas at El Paso, Major- Zoology
Bachelor of Science Degree, Stephen F. Austin State University, Major- Biology/Geology

LICENSES AND CERTIFICATIONS:
Federal Senior Executive Service (SES) Certified
Instrument Rated Commercial Pilot's License, Department of Interior certified low-level mission pilot
Top Secret Security Clearance
Teaching Certificate, Composite Science, Texas Education Agency

TRAINING EXPERIENCE
Certified Science Teacher by the Texas Education Agency
Served as an Instructor at the Federal Law Enforcement Training Center (10 years)
Served as an Instructor at the USFWS, Special Agent Basic School, (12 years)
Training Instructor for the National Park Service
Training Instructor for the United States Environmental Protection Agency (5 years)
Training Instructor for the Lusaka Agreement Task Force
Keynote Speaker and Guest Lecturer at Continuing Legal Education Conferences
Author of Two Webinars on Environmental Law Enforcement
________________________________________________________________________________________________

WORK EXPERIENCE:
Gary Mowad Environmental Consulting, LLC (GMEC)
Scottsdale, Arizona
Founder and managing member of GMEC providing professional wildlife and environmental compliance services to
governmental and industrial clients. Services include but are not limited to Endangered Species Act compliance
reviews, Migratory Bird Treaty Act and Eagle Protection Act compliance plans, ESA Section 7 compliance and expert
witness testimony.

Texas State Administrator for Ecological Services, U.S. Fish and Wildlife Service
Responsibilities of the Texas State Administrator for the USFWS Ecological Service’s Division included, but were not
limited to, supervision of USFWS biologists throughout Texas. Duties included supervising the listing process for
species proposed for listing as endangered or threatened, the recovery of listed species, and the establishment of
conservation banks.

 Deputy Chief, U.S. Fish and Wildlife Service - Office of Law Enforcement, Arlington, Virginia
Responsibilities of the Deputy Chief for the USFWS law enforcement program included setting national and regional
enforcement priorities, managing the program’s $63 million annual budget; managing a staff of 200 Special Agents, 135
Wildlife Inspectors, and 165 administrative staff; a vehicle fleet, an aviation program, office space requirements, and
training needs for the law enforcement program. Responsibilities also included supervising the operations of the
                                                      Page 1 of 3
          Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 20 of 21

National Wildlife Forensics Laboratory, the Undercover Investigations Unit, the Evidence Repository, the National
Computer Forensics Unit, and the Wildlife Inspection Program. Duties also included meeting with industry trade
groups, Congressional members, foreign government representatives, and other Federal bureau heads.

Special Agent in Charge, U.S. Fish and Wildlife Service - Office of Law Enforcement,
Lakewood, Colorado
Responsibilities of the Special Agent in Charge (SAC) of the USFWS Mountain-Prairie Region included managing the
USFWS law enforcement program in eight western states. This included total responsibility over the investigative,
administrative, and the budgetary components of the law enforcement program. It also required coordinating with other
federal bureau heads in the region, meeting with Congressional members and/or their senior staff on complex and
controversial issues, and coordinating with the leaders of State and Tribal wildlife law enforcement programs in the
region.

While detailed as acting Deputy Regional Director, responsibilities included supervising the development and
publication of the Lynx Critical Habitat Proposed Rule, the development and publication of the Gray Wolf ESA 10J
Rule, and the development and publication of the Gray Wolf delisting Proposed Rule

Assistant Special Agent in Charge, U.S. Fish and Wildlife Service - Office of Law Enforcement, Albuquerque,
New Mexico
Responsibilities of the Assistant Special Agent in Charge of the USFWS Southwest Region included managing the
USFWS law enforcement program in four southwestern states, including total oversight over the investigative,
administrative and the budgetary components of the law enforcement program.

Senior Special Agent, U.S. Fish and Wildlife Service - Office of Law Enforcement,
Arlington, Virginia
While working in the USFWS Headquarters Office responsibilities included developing new wildlife law enforcement
policy, writing regulations; interacting with INTERPOL and the State Department, working with foreign governments,
and serving as a subject matter expert for the Endangered Species Act, the Migratory Bird Treaty Act, the Eagle
Protection Act, and the Civil Asset Forfeiture Reform Act.

Special Agent/Regional Pilot, U.S. Fish and Wildlife Service - Office of Law Enforcement, Lakewood, Colorado
Responsibilities included working as a field Special Agent and Natural Resource Pilot. Areas of expertise included
wildlife mortality linked to pesticides, other environmental contaminants, and oil production fields. Accomplishments
included leading an interagency taskforce to address wildlife mortality; as well as, impacts to ground and surface water
caused by oil and gas production.

Special Agent, U.S. Fish and Wildlife Service - Office of Law Enforcement, Golden, Colorado; Rosemont, IL;
Anchorage, Alaska
Duties included all areas of investigative work performed by USFWS Special Agents, as well as Natural Resource Pilot
duty. Areas of expertise included wildlife mortality linked to pesticides and other environmental contaminants, and
interstate transport of unlawfully taken wildlife.

Quarantine Officer, U.S. Department of Agriculture Animal and Plant Health Inspection Service, El Paso, Texas
Responsibilities included enforcing the quarantine laws dealing with the importation and exportation of quarantined
animal and plant products. The position involved working independently along the U.S. border regulating the flow of
restricted and illegal agricultural and animal commodities.


AWARDS AND RECOGNTION:
Gold Medal Environmental Achievement Award, United States Environmental Protection Agency
Meritorious Service Award, Department of Interior in recognition of achievements and leadership related to the
inception, development, and implementation of the very successful Rocky Mountain Region environmental
contaminants program.
Recipient of 28 additional USFWS or Department of Interior performance awards




                                                       Page 2 of 3
          Case 1:18-cv-04596-VEC Document 68-2 Filed 01/17/20 Page 21 of 21

PUBLICATIONS:
Op-ed, Regulatory Creep, When Voluntary Payments become Mandatory. The Hill, 2016
Webinar Presentation on MBTA prohibitions (2016)
Webinar Presentation on ESA compliance (2015)
Euthanasia Related Avian Mortality, A veterinarian’s guide, USFWS, 2005 (coauthor)
Investigating Pesticide Related Avian Mortality, USFWS. 2004
Protocols for Investigating Wildlife Mortality in Oil and Gas Production Fields. USFWS, 2003
USFWS Civil Asset Forfeiture Reform Act (CAFRA) enforcement policy (coauthor)
USFWS Endangered Species Act Enforcement Policy for Habitat Modification Cases 2003




                                                     Page 3 of 3
